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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

CITY OF ALBUQUERQUE,
Plaintiff,

VS. Civ. No. 20-0371 KG/KK

MERRICK B. GARLAND, in his official capacity as
Attorney General of the United States, and the U.S.
DEPARTMENT OF JUSTICE,

Defendants.

FINAL JUDGMENT

Having previously granted the parties’ Joint Motion to Dismiss (Doc. 44), and having
now resolved the attorney fees issue by separate Memorandum Order and Opinion (Doc. 53), and
pursuant to Federal Rule of Civil Procedure 58(a), the Court issues its separate judgment finally

disposing of this civil case.

IT IS ORDERED that this case is dismissed with prejudice.

 
